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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division

 In re:

 Siamak Loghmani                                      Case No. 18-10781-KHK
                                                      (Chapter 13)
           Debtor

                                                ORDER

          This matter is before the Court pursuant to the Order Denying Confirmation (Docket Entry

19) entered May 10, 2018 providing that the debtor's case would be dismissed unless, within 21

days, the debtor(s) took action under Local Bankruptcy Rule 3015-2.

          It appears that the Debtor has not taken such action within the time given, it is therefore,

          ORDERED,

          1. Pursuant to Local Bankruptcy Rule 3015-2, that the above case be dismissed.

          2. Dismissal of this case revests the property of the estate in the entity in which such

             property was vested immediately before the commencement of the case. The trustee

             need not file a final report in this case unless property or money was administered.

          3. The Debtor is advised that he has 14 days within which to note an appeal of this Order.

          4. The Clerk shall provide a copy of this order and electronic notice of its entry to the

             parties listed below.



       Jul 16 2018
Date: ______________                               /s/ Brian F. Kenney
                                                 Brian F. Kenney
                                                 United States Bankruptcy Judge
Copy electronically to:                        Entered on Docket: July 16, 2018
Thomas P. Gorman

Copy mailed to:
Labkhand Aguilar, Pro se Debtor
43172 Tall Pines Court
Ashburn, VA 20147
